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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9

10
      CURTIS ROOKAIRD,

11
                          Plaintiff,
                                                             NO. C14-176RSL
12
                   vs.

13
      BNSF RAILWAY COMPANY,                                  MINUTE ORDER

14
                          Defendant.

15
           The following Minute Order is made and entered on the docket at the direction of the
16
     HONORABLE ROBERT S. LASNIK, UNITED STATES DISTRICT JUDGE:
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           Judge Lasnik recuses himself in the above entitled action and this case is reassigned in
18
     rotation to the Honorable Richard A. Jones. The cause number in this case is changed to
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     C14-176RAJ which reflects the initial of the Judge to which this case was reassigned.
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21
           DATED this 16th day of January, 2019.
22

23                                                          s/Kerry Simonds
                                                            by Kerry Simonds, Deputy Clerk
24                                                          To Robert S. Lasnik, Judge
                                                            206-370-8519
25

26

27

28   MINUTE ORDER
